        Case 1:17-cr-10092-NMG Document 310 Filed 05/25/18 Page 1 of 4




                      UNITED STATES DISTRICT COURT
                        DISTRICT OF MASSACHUSETTS
__________________________________________
                                           )
UNITED STATES OF AMERICA,                  )
                                           )
            v.                             ) No. 17-CR-10092-NMG
                                           )
GARY P. DECICCO,                           )
                                           )
                  Defendant.               )
__________________________________________)

                     SUPPLEMENTAL FILING IN RESPONSE
               TO MAY 24 AND 25, 2018 GOVERNMENT PRODUCTIONS

       Defendant Gary DeCicco wishes to bring to the Court’s attention additional exculpatory

evidence that was produced to the defense on May 24 and May 25, 2018. The evidence is

directly relevant to the issues of government misconduct raised during the pretrial conference on

May 23, 2018 and briefed in the Memorandum in Support of Motion to Dismiss the Indictment

for Government Misconduct filed on May 24, 2018 (Dkt. No. 300). The Court had requested the

defense to file a motion addressing these issues after the defense presented evidence of the

government’s misrepresentations to the Court concerning its investigation and its destruction of

exculpatory evidence, which would not have been revealed but for the eve-of-trial production of

Medi Miransiri’s phone records on May 17 and May 22, 2018.

       Specifically, upon reviewing these records, the defense learned for the first time that,

contrary to government representations, Mirnasiri had been in contact with—and indeed

appeared to be coordinating and working with—the FBI against Mr. DeCicco Months before

December 28, 2014. This fact is significant because the government had represented that

Mirnasiri and the FBI had not “talk[ed]” or been interviewed by the FBI before December 28,

2014, shortly before his assault on January 11, 2015, as an explanation why there were no efforts
           Case 1:17-cr-10092-NMG Document 310 Filed 05/25/18 Page 2 of 4



to investigate or obtain evidence against Mr. DeCicco for extortion after he sent Mirnasiri a

delivery of flowers, a cross, a note, and pizza in August 2014, which the government has alleged

is an extortionate act. Instead, the government was in close contact with Mirnasiri from August

2014 through December 2014, and coordinated with Mirnasiri before and after Mirnasiri and Mr.

DeCicco communicated with each other during that critical time period. In effect, the

government concealed the destruction of key exculpatory evidence in this case: the

communications between Mirnasiri and DeCicco, including several critical voice messages in

October and December 2014, which would have proven that Mr. DeCicco had no intent to obtain

an interest in Mirnasiri’s business and that neither the flower delivery in August 2014 nor the

assault on January 11, 2015 had anything to do with such an intent. The government also

concealed extensive communications between Mirnasiri and government agents, showing his

against Mr. DeCicco, as well as the development of an unusually special “relationship” with the

agents. This information is exculpatory under Giglio.

       On May 24, 2018, while defense counsel was preparing its brief pursuant to the Court’s

Order, Dkt. No. 297, the government sent eleven communications to defense counsel. A number

of these communications contained productions of additional exculpatory information that were

“inadvertently” or “inexplicably” omitted from prior productions. The government evidently did

not review its files for exculpatory evidence prior to the defense’s presentation before the pretrial

conference, and only did so subsequent to the hearing and the Court’s order that the parties

submit briefing on this issue. The government’s production on May 24, 2018 included the

following relevant documents and information to the pending Motion to Dismiss:

              Text messages between FBI Special Agent Jesse Chizmadia and Medi
               Mirnasiri from the time period of August 27, 2014 through December 9,
               2014, which were “inadvertently” omitted from an earlier production;
           Case 1:17-cr-10092-NMG Document 310 Filed 05/25/18 Page 3 of 4



              Dozens of additional text messages from FBI Special Agent Jesse
               Chizmadia and Mirnasiri from September 27, 2016 through January 1,
               2018, which were “inexplicably” missing from an earlier production;

              Disclosure of the cell phone number of Massachusetts State Police
               Detective Lieutenant Mark Frenzo, who was in communication with
               Mirnasiri over 40 times in October and November 2014. Captain Frenzo
               worked closely with SA Chizmadia on the investigation on this case and
               attended multiple memorialized interviews of Mirnasiri with SA
               Chizmadia;

              Additional text messages between Special Agent Matthew Elio and Mirnasiri
               from January 1, 2018 until present.

The government’s correspondence with these various productions is attached as Exhibit 1.

Moreover, on May 25, 2018, the government informed the defense that SA Chizmadia had

provided Mirnasiri with recording equipment. See Exhibit 2. For ease of reference, the newly-

discovered calls with Captain Frenzo have been added to the demonstrative presented at the May

23, 2018 hearing, attached as Exhibit 3.1

       The defense submits that the government’s belated production of this information is

directly relevant to the issues raised in the defense’s Motion to Dismiss Indictment for

Government Misconduct and accompanying Memorandum in Support, as it is indicative of the

scope of the government’s continued failure to investigate and disclose exculpatory evidence.




1
 Exhibit 3 reflects typographical corrections as well as corrections for the times of certain calls,
due to use of Pacific time zone on certain of the data on the telephone records. A December 10
contact between SA Chizmadia and Mirnasiri was also mistakenly omitted, and is added in the
corrected Exhibit 3. The Newly disclosed contacts between Captain Frenzo and Mirnasiri have
been added in blue to Exhibit 3.
        Case 1:17-cr-10092-NMG Document 310 Filed 05/25/18 Page 4 of 4



                                                Respectfully submitted,

                                                GARY P. DECICCO

                                                By his attorneys,

                                                 /s/ Thomas C. Frongillo
                                                Thomas C. Frongillo (BBO# 180690)
                                                Caroline K. Simons (BBO# 680827)
                                                Jessica L. Perry (BBO# 696392)
                                                FISH & RICHARDSON P.C.
                                                One Marina Park Drive
                                                Boston, Massachusetts 02210
                                                frongillo@fr.com
                                                simons@fr.com
                                                jperry@fr.com
                                                TEL: (617) 542-5070
                                                FAX: (617) 542-8906

                                                James J. Cipoletta (BBO# 084260)
                                                Law Offices of James J. Cipoletta
                                                Citizens Bank Building
                                                385 Broadway Suite 307
                                                Revere, Massachusetts 02151
                                                jim@cipoletta.com
                                                Tel: (781) 289-7777
Dated: May 25, 2018                             Fax: (781) 289-9468




                               CERTIFICATE OF SERVICE

I hereby certify that on the 25th day of May, 2018, I caused the foregoing document to be
filed using the Court’s ECF system. I have also caused the foregoing document to be served the
document upon all parties of record.

                                                   ______/s/ Thomas C. Frongillo________
                                                         Thomas C. Frongillo
